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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

UNI'I`ED STATES OF AMERICA,

Plaintiff,
V Civil Action No. 16-1483
ANHEUSER-BUSCH InBEV
SA/NV, and
SABMILLER plc,

Defendants.

MODIFIED FINAL JUDGMENT

 

WHEREAS, Plaintiff, United States of America (“United States”) filed its Complaint on
July 20, 2016, the United States and Defendants, by their respective attomeys, have consented to
entry of this Final Judgment without trial or adjudication of any issue of fact or law, and without
this Final Judgment constituting any evidence against or admission by any party regarding any
issue of fact or law;

AND WHEREAS, Defendants agree to be bound by the provisions of the Final Judgment
pending its approval by the Court;

AND WHEREAS, the essence of this Final Judgment is the prompt divestiture of certain
rights and assets to assure that competition is not substantially lessened;

AND WHEREAS, this Final Judgment requires Defendant ABI to make certain

divestitures for the purpose of remedying the loss of competition alleged in the Complaint;

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AND WHEREAS, Plaintiff requires Defendants to agree to undertake certain actions and
refrain from certain conduct for the purposes of remedying the loss of competition alleged in the
Complaint;

AND WHEREAS, Defendants have represented to the United States that the divestitures
required below can (after the Completion of the Transaction) and will be made, and that the
actions and conduct restrictions can and Will be undertaken, and that Defendants will later raise
no claim of hardship or difficulty as grounds for asking the Court to modify any of the provisions
contained below;

NOW THEREFORE, before any testimony is taken, without trial or adjudication of any
issue of fact or law, and upon consent of the parties, it is ORDERED, ADIUDGED, AND
DECREED:

I. JURISDICTION

This Court has jurisdiction over the subject matter of this action and each of the parties.
The Complaint states a claim upon which relief may be granted against Defendants under
Section 7 of the Clayton Act, as amended (15 U.S.C. § 18).

lI. DEFINITIONS

As used in the Final Judgment:

A. “ABI” means Anheuser-Busch InBev SA/NV, its domestic and foreign parents,
predecessors, divisions, subsidiaries, affiliates, partnerships, successors in interest (including any
successor in interest to Anheuser-Busch InBev SA/NV following the Completion of the
Transaction), and joint ventures; and all directors, officers, employees, agents, and

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representatives of the foregoing The terms “parent, subsidiary,” “affiliate,” and “joint
venture” refer to any person in which there is majority (greater than 50%) or total ownership or

control between the company and any other person.

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B. “ABI Divested Brand” means any Import Product divested or sold pursuant to
commitments offered to the European Commission pursuant to its review of the Transaction.
C. “ABI-Owned Distributor” means any Distributor in which ABI owns more than

50% of the outstanding equity interests or more than 50% of the assets.

D. “Acquirer” means:
l. Molson Coors; or
2. an alternative purchaser of the Divestiture Assets selected pursuant to the

procedures set forth in this Final Judgment.

E. “Beer” means any fermented alcoholic beverage that is (l) composed in part of
water, a type of malted starch, yeast, and hops or other flavoring, and (2) has undergone the
process of brewing. As used herein, the term “Beer” shall also include flavored malt beverages,
root beers, and ciders.

F. “Closing” means consummation of the divestiture of the Divestiture Assets
pursuant to the Final Judgment.

G. “Completion of the Transaction” means the completion of the Transaction in
accordance with its terrns.

H. “Confidential Information” means confidential commercial information of the
Acquirer or MillerCoors that has been obtained from the Acquirer, MillerCoors or SABMiller in
connection with, or as a result of, (1) SABMiller’s equity and ownership stake in the Divestiture
Assets prior to the divestiture of the Divestiture Assets, (2) the divestiture of the Divestiture
Assets, or (3) the entry into and performance under the Inten'm Supply Agreements, the License
Agreements, or the Transition Services Agreements, including quantities, units, and prices of

items ordered or purchased from Defendant ABI by the Acquirer, and any other competitively

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sensitive information regarding Defendant ABI’s or the Acquirer’s performance under the
Interim Supply Agreements, the License Agreements, or the Transition Services Agreements.

I. “Covered Entity” means any Beer brewer, importer, distributor, or brand owner
(other than ABI) that derives more than $7.5 million in annual gross revenue from Beer sold for
further resale in the Territory, or from license fees generated by such Beer sales.

J. “Covered lnterest” means ownership or control of any Beer brewing assets of, or
any Beer brand assets of, or any Beer distribution assets of, or any interest in (including any
financial, security, loan, equity, intellectual property, or management interest), a Covered Entity;
except that a Covered Interest shall not include (i) a Beer brewery or Beer brand located outside
the Ten'itory that does not generate at least $7.5 million in annual gross revenue from Beer sold
for resale in the Territory; (ii) a license to distribute a non-ABl Beer brand where said
distribution license does not generate at least $3 million in annual gross revenue in the Territory;
or (iii) a Beer distributor which does not generate at least $3 million in annual gross revenue in
the Ten~itory.

K. “Def`endants” means ABI and SABMiller, and any successor or assignee to all or
substantially all of the business or assets of ABI or SABMiller, involved in the brewing,
development, production, servicing, distribution, marketing, or sale of Beer.

L. “Distributor” means a wholesaler in the Ten'itory who acts as an intermediary
between a brewer or importer of Beer and a retailer of Beer.

M. “Divestiture Assets” means:

l. SABMiller’s equity and ownership stake in MillerCoors;
2. All intellectual property of SABMiller (other than MillerCoors) that is

primarily related to any Miller-Branded Product, both inside and outside

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the Territory, including, but not limited to: (i) patents (including all
reissues, divisions, continuations, continuations-in-part, reexaminations,
supplemental examinations, foreign counterparts, substitutions and
extensions thereof) and patent applications; (ii) copyrights and all
applications, registrations, and renewals therefor; (iii) trademarks, trade
names, service marks, service names, trade dress, and other indicia of
origin and all applications, registrations, and renewals therefor; (iv)
technical inforrnation, know-how, trade secrets, and other proprietary and
confidential inforrnation, including such information relating to
inventions, technology, product formulations, recipes, production
processes, customer lists, and marketing databases; and (v) domain names,
social media accounts, and identifiers and registrations therefor;

3. All contracts, commitments, agreements, subcontracts, leases, subleases,
licenses, sublicenses, purchase orders, or other legally binding promises or
obligations, whether written or oral, to which SABMiller (other than
MillerCoors) is a party and that are primarily related to the manufacture,
distribution, marketing, and sale of Miller-Branded Products outside of the
Territory, in each case other than any real estate leases or employment or
independent contractor agreements;

4. All raw material inventory exclusively related to the manufacture,
distribution, marketing, and sale of Miller-Branded Products outside of the

Territory;

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All royalty or equivalent rights of SABMiller in respect of oil and gas
deposits at the brewery operated by MillerCoors located at Fort Worth,
Texas;

All research and development activities primarily related to the
manufacture, distribution, marketing, and sale of Miller-Branded Products
outside of the Territory;

All licenses, permits, and authorizations issued by any governmental
organization primarily related to the manufacture, distribution, marketing,
and sale of Miller-Branded Products outside of the Tenitory, to the extent
such licenses, permits, and authorizations are capable of assignment or
transfer by SABMiller;

All customer lists, contracts, accounts, and credit records primarily related
to the manufacture, distribution, marketing, and sale of Miller-Branded
Products outside of the Territory;

All repair, performance, and other records primarily related to the
manufacture, distribution, marketing, and sale of Miller-Branded Products
outside of the Territory;

All intangible assets including computer software and related
documentation, safety procedures for the handling of materials and
substances, design tools and simulation capability, and research data
concerning historic and current research and development ef`forts,
including, but not limited to, designs of experiments, and the results of

successful and unsuccessful designs and experiments, primarily related to

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13.

the manufacture, distribution, marketing, and sale of Miller-Branded
Products outside of the Territory;

All drawings blueprints, designs, design protocols, specifications for
materials, specifications for parts and devices, research data concerning
historic and current research and development, quality assurance and
control procedures, manuals and technical information Defendants provide
to their own employees, customers, suppliers, agents or licensees, and all
research data concerning historic and current research and development
efforts, including, but not limited to, designs of experiments, and the
results of successful and unsuccessful designs and experiments, primarily
related to the manufacture, distribution, marketing, and sale of Miller-
Branded Products outside of the Territory;

All other assets primarily related to the manufacture, distribution,
marketing, and sale of Miller-Branded Products outside of the Territory,
including finished goods and work-in-progress, point-of-sale and
advertising materials; and

Perpetual, fully paid-up, royalty-free licenses, entered into only with the
approval of the United States in its sole discretion, to any intellectual
property and any other intangible assets required to permit the Acquirer to
manufacture, import, distribute, market, or sell the lrnport Products and

the Licensed Products in the Tenitory.

With respect to clauses (2) through (13) above, Divestiture Assets excludes (A) cash and

cash equivalents, (B) any accounts receivable, (C) subject to the provisions of Section

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IV.E, any employees or other personnel or benefit obligations with respect thereto, (D)

any capital stock or other equity securities, (E) any real property or interests therein

(other than certain royalty and equivalent rights in respect of oil and gas deposits

referenced in clause (5)), (F) any property, plant or equipment (or any portion thereof),

and (G) any of the items enumerated in clauses (2) through (13) above that are owned or
controlled by any third party and are therefore not capable of assignment or transfer by

Defendant ABI or Defendant SABMiller,

N. “Hold Separate Stipulation and Order” means the Hold Separate Stipulation and
Order filed by the parties simultaneously herewith, which imposes certain duties on the
Defendants with respect to the operation of the Divestiture Assets pending the proposed
divestitures.

O. “Irnport Products” means Beer and any other beverages, excluding Miller-
Branded Products and Licensed Products, imported, distributed, marketed, or sold in the
Territory, under any of the brands or sub-brands set forth on Attachment B hereto and any other
sub-brands of such brands.

P. “Independent Distributor” means any Distributor that is not an ABl-Owned
Distributor and that has an exclusive contractual right to sell Budweiser or Bud Light branded
Beer.

Q. “Interim Supply Agreements” means supply agreements covering any Miller-
Branded Products or Import Products.

R. “License Agreement” means any agreement to license intellectual property

pursuant to Section II.M.13 of this Final Judgment.

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S. “Licensed Products” means Beer and any other beverages manufactured,
distributed, marketed or sold in the Tenitory under the Foster’s or Redd’s brands or any sub-
brands of such brands.

T. “MillerCoors” means MillerCoors LLC, its divisions, subsidiaries, affiliates,
partnerships and joint ventures, and all directors, officers, employees, agents, and representatives
of the foregoing. The terms “subsidiary,” “affiliate,” and “joint venture” refer to any person in
which there is majority (greater than 50%) or total ownership or control between the company
and any other person. As used herein, the term “MillerCoors” shall not include SABMiller or
Molson Coors.

U. “Miller-Branded Products” means Beer and any other beverages manufactured,
distributed, marketed and sold, anywhere in the world, under any of the brands or sub-brands set
forth on Attachment A hereto and any other sub-brands of such brands.

V. “Molson Coors” means Molson Coors Brewing Company, its domestic and
foreign parents, predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures,
and all directors, officers, employees, agents, and representatives of the foregoing The terms

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“parent, subsidiary,” “aff`rliate,” and “joint venture” refer to any person in which there is
majority (greater than 50%) or total ownership or control between the company and any other
person. As used herein, the term “Molson Coors” shall not include MillerCoors unless and until
Molson Coors acquires the Divestiture Assets pursuant to Section IV or Section Vl of this Final
Judgment.

W. “SABMiller” means SABMiller plc, its domestic and foreign parents,

predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all directors,

officers, employees, agents, and representatives of the foregoing The terms “parent,”

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“subsidiary,” “affiliate,” and “joint venture” refer to any person in which there is majority
(greater than 50%) or total ownership or control between the company and any other person. As
used herein in connection with any obligation of SABMiller under this Order with respect to
control of MillerCoors, the term SABMiller means SABMiller’s non-controlling 58% equity
interest and 50% voting rights in MillerCoors, which are subject to the MillerCoors LLC
Amended and Restated Operating Agreement, until the Completion of the Transaction pursuant
to Section IV or Section VI of this Final Judgment.

X. “Territory” means the fifty states of the United States of America, the District of
Columbia, Puerto Rico, and all United States military bases located in the fifty states of the
United States of America, the District of Columbia, and Puerto Rico.

Y. “Third-Party Brewer” means any person (other than Defendants or the Acquirer,
including any subsidiaries or joint ventures of the Acquirer), that manufactures, has a third party
manufacture, or imports Beer for sale in the Tenitory.

Z. “Transaction” means ABI’s proposed acquisition of all of the shares of
SABMiller pursuant to the Co~Operation Agreement between Anheuser-Busch lnbev SA/NV
and SABMiller plc, the joint announcement by Anheuser-Busch lnbev SA/NV and SABMiller
plc in relation to the Transaction pursuant to Rule 2.7 of the UK City Code on Takeovers and
Mergers and the letter agreement related to the Co-Operation Agreement between Anheuser-
Busch lnbev SA/NV and SABMiller plc, each of which is dated November ll, 2015.

III. APPLICABILITY

A. This Final Judgment applies to Defendants, as defined above, and all other
persons in active concert or participation with any of them who receive actual notice of this Final

Judgment by personal service or otherwise.

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B. If, prior to complying with Sections IV and VI of this Final Judgment, Defendants
sell or otherwise dispose of all or substantially all of their assets or of lesser business units that
include the Divestiture Assets, they shall require the purchaser to be bound by the provisions of
this Final Judgment unless such sale or disposition is pursuant to commitments offered to the
European Commission pursuant to its review of the Transaction.

IV. DIVESTITURE

A. Defendant ABI is ordered and directed, within ninety (90) calendar days after the
filing of the Hold Separate Stipulation and Order, to divest the Divestiture Assets, if the
Completion of the Transaction has occurred, in a manner consistent with this Final Judgment to
Molson Coors. The United States, in its sole discretion, may agree to one or more extensions of
this time period not to exceed sixty (60) calendar days in total, and shall notify the Court in such
circumstances Defendant ABI agrees to use its best efforts to divest the Divestiture Assets as
expeditiously as possible. Defendant ABI shall perform all duties and provide any and all
services required of Defendant ABI pursuant to the agreements with the Acquirer to effect the
divestiture of the Divestiture Assets (including the License Agreements, Transition Services
Agreements, and Interim Supply Agreements).

B. In the event Molson Coors is not the Acquirer of the Divestiture Assets,
Defendant ABI or any Monitoring Trustee appointed pursuant to Section VIII of this Final
Judgment shall promptly notify the United States of that fact in writing. In such circumstances,
within sixty (60) calendar days after the United States receives such notice, Defendant ABI shall
divest the Divestiture Assets in a manner consistent with this Final Judgment to an alternative
Acquirer(s) acceptable to the United States, in its sole discretion. The United States, in its sole
discretion, may agree to one or more extensions of this time period not to exceed sixty (60)

calendar days in total, and shall notify the Court in such circumstances

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C. In the event that Molson Coors is not the Acquirer of the Divestiture Assets,
Defendant ABI promptly shall make known, by usual and customary means, the availability of
the Divestiture Assets. Defendant ABI shall inform any person inquiring about a possible
purchase of the Divestiture Assets that they are being divested pursuant to this Final Judgment
and provide that person with a copy of this Final Judgment.

D. Defendants shall offer to furnish to all prospective Acquirers, subject to
customary confidentiality assurances, all information and documents relating to the Divestiture
Assets customarily provided in a due diligence process except such information or documents
subject to the attorney-client privilege or work-product doctrine. Defendants shall make
available such information to the United States at the same time that such information is made
available to any other person.

E. For a period beginning on the date of the filing of the Hold Separate Stipulation
and Order and continuing for not less than one (1) year from the date of the divestiture required
by Section IV or VI of this Final Judgment, to the extent consistent with applicable law,
Defendants shall provide the Acquirer and the United States information relating to the personnel
who spend the majority of their time on or are otherwise material to the operation of the
Divestiture Assets, including Defendant SABMiller employees who spend the majority of their
time on or are otherwise material to the production, manufacture, importation, distribution,
marketing, or sale of Miller-Branded Products outside the Territory, to enable the Acquirer to
make offers of employment. Beginning as of the date of the filing of the Hold Separate
Stipulation and Order, Defendants will not interfere with any negotiations by the Acquirer to

retain, employ, or contract with any employee of MillerCoors or any Defendant SABMiller

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employee whose primary responsibility is the production, manufacture, importation, distribution,
marketing, or sale of Miller-Branded Products,

F. In the event that Molson Coors is not the Acquirer of the Divested Assets,
Defendants shall permit prospective Acquirers of the Divestiture Assets to have reasonable
access to personnel and to make inspections of the physical facilities of MillerCoors; access to
any and all environmental, zoning, and other permit documents and information; and access to
any and all financial, operational, or other documents and information customarily provided as
part of a due diligence process

G. Defendant ABI shall warrant to the Acquirer that the Divestiture Assets will be
operational on the date of sale to the extent such assets were operational on the date the
Complaint was filed.

H. Defendants shall not take any action that will impede in any way the permitting,
operation, or divestiture of the Divestiture Assets.

I. On or before the date of the divestiture pursuant to Section IV or Section VI of
this Final Judgment, Defendant ABI shall enter into one or more transitional services agreements
(collectively, the “’I`ransition Services Agreements”) with the Acquirer for a period of up to one
(l) year from the date of the divestiture required by Section lV or Section VI of this Final
Judgment to provide such services with respect to the business of developing, producing,
servicing, importing, distributing, marketing, and selling Miller-Branded Products outside the
Territory (the “Miller Intemational Business”) that are reasonably necessary to allow the
Acquirer to operate the Miller lntemational Business in a manner substantially consistent with
the operation of such business prior to date of the divestiture of the Divestiture Assets.

Defendant ABI shall perform all duties and provide any and all services required of Defendant

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ABI under the Transition Services Agreements. The Transition Services Agreements, and any
amendments or modifications thereto, may be entered into only with the approval of the United
States in its sole discretion. Nothing in the foregoing shall apply to any agreements regarding
any AB_l Divested Brands.

J. On or before the date of the divestiture pursuant to Section IV or Section VI of
this Final Judgment, Defendant ABI shall enter into Interim Supply Agreements with the
Acquirer for a period of up to three (3)` years from the date of the divestiture required by Section
IV or Section Vl of this Final Judgment. Defendant ABI shall perform all duties and provide any
and all services required of Defendant ABI under the Interim Supply Agreements. The Interim
Supply Agreements, and any amendments, modifications, or extensions of the Interim Supply
Agreements, may be entered into only with the approval of the United States in its sole .
discretion.

K. If the Acquirer seeks an extension of any of the Interim Supply Agreements
covering Import Products, or if Defendant ABI and the Acquirer mutually agree to an extension
of any of the Interim Supply Agreements covering Miller-Branded Products, the Acquirer shall
so notify the United States in writing at least four (4) months prior to the date the Interim Supply
Agreement(s) expires. The total term of the Interim Supply Agreements and any extension(s) so
approved shall not exceed five (5) years. Nothing in the foregoing shall apply to any agreements
regarding any ABl Divested Brands.

L. Unless the United States otherwise consents in writing, the divestiture pursuant to
Section IV or Section Vl shall include the entire Divestiture Assets, and shall be accomplished in

such a way as to satisfy the United States, in its sole discretion, that the Divestiture Assets can

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and will be used by the Acquirer as part of a viable, ongoing business, engaged in brewing,

developing, producing, distributing, marketing, and selling Beer. The divestiture shall be:

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made to an Acquirer that, in the United States’ sole judgment, has the
intent and capability (including the necessary managerial, operational,
technical and financial capability) to compete in the business of brewing,
developing, producing, and selling Beer;

accomplished so as to satisfy the United States, in its sole discretion, that
none of the terms of the agreement between an Acquirer and Defendant
ABI gives Defendants the ability unreasonably to raise the Acquirer’s
costs, to lower the Acquirer’s efficiency, or otherwise to interfere in the
ability of the Acquirer to compete effectively; and

made to an Acquirer who agrees to comply with the provisions of Section
V.A of this Final Judgment, in a manner satisfactory to the United States,

in its sole discretion

M. Defendant ABI shall, as soon as possible, but within two (2) business days after

completion of the relevant event, notify the United States of: (l) the effective date of the

completion of the Transaction; and (2) the effective date of the divestiture of the Divestiture

Assets to the Acquirer.

V. SUPPLEMENTAL RELIEF

A. Defendants agree, and Defendant ABI shall require any Acquirer to agree, that

they will not cite the Transaction or the divestiture required by Section IV or VI of this Final

Judgment as a basis for modifying, renegotiating, or terminating any contract with any

Distributor.

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B. Defendant ABI shall not acquire any equity interests in, or any ownership or
control of the assets of, a Distributor if (i) such acquisition would transform said Distributor into
an ABI-Owned Distributor, and (ii) as measured on the day of entering into an agreement for
such acquisition more than ten percent (10%), by volume, of Defendant ABI’s Beer sold in the
Territory would be sold through ABI-OWned Distributors after such acquisition. Percentages of
volume will be calculated using a twelve month trailing average as used in Defendant ABI’s
ordinary course, described in Attachment C.

C. If Defendants and the Acquirer enter into any new agreement(s) with each other
with respect to the brewing, packaging, production, marketing, importing, distribution, or sale of
Beer in the Territory, Defendants shall notify the United States of the new agreement(s) at least
sixty (60) calendar days in advance of such agreement(s) becoming effective and such
agreement(s) may only be entered into with the approval of the United States in its sole
discretion.

D. Defendant ABI shall not unilaterally, or pursuant to the terms of any contract or
agreement, provide any reward or penalty to, or in any other way condition its relationship with,
an lndependent Distributor or any employees or agents of that independent Distributor based
upon the amount of sales the lndependent Distributor makes of a Third-Party Brewer’s Beer or
the marketing, advertising, promotion, or retail placement of such Beer. Actions prohibited by
this Sub-section include, but are not limited to:

l. Conditioning the availability of Defendant ABI’s Beer on an lndependent
Distributor’s sales, marketing, advertising, promotion, or retail placement

of a Third-Party Brewer’s Beer;

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2. Conditioning the prices, services, product support, rebates, discounts, buy
backs, or other terms and conditions of sale of Defendant ABI’s Beer that
are offered to an lndependent Distributor based on an lndependent
Distributor’s sales, marketing, advertising, promotion, or retail placement
of a Third-Party Brewer’s Beer;

3. Conditioning any agreement or program with an lndependent Distributor
on the fact that an lndependent Distributor sells a Third-Party Brewer’s
Beer outside of the geographic area in which the lndependent Distributor
sells Defendant ABI’s Beer;

4. Requiring an lndependent Distributor to offer any incentive for selling
Defendant ABI’s Beer in connection with or in response to any incentive
that the lndependent Distributor offers for selling a Third-Party Brewer’s
Beer; and

5. Preventing an lndependent Distributor from using best efforts to sell,
market, advertise, or promote any Third-Party Brewer’s Beer, which may
be defined as efforts designed to achieve and maintain the highest
practicable sales volume and retail placement of the Third Party Brewer’s
Beer in a geographic area.

Notwithstanding the foregoing, nothing in this Final Judgment shall prohibit Defendant ABI
from entering into or enforcing an agreement with any lndependent Distributor requiring the
lndependent Distributor to use best efforts to sell, market, advertise, or promote Defendant ABI’s
Beer, which may be defined as efforts designed to achieve and maintain the highest practicable

sales volume and retail placement of Defendant ABI’s Beer in a geographic area. Defendant

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ABI may condition incentives, programs, or contractual terms based on an lndependent
Distributor’s volume of sales of Defendant ABl’s Beer, the retail placement of Defendant ABl’s
Beer, or on Defendant ABl’s percentage of Beer industry sales in a geographic area (such
percentage not to be defined by reference to or derived from information obtained from
lndependent Distributors concerning their sales of any Third-Party Brewer’s Beer), provided,
however, that any such incentives, programs, or contractual terms may not require or encourage
an lndependent Distributor to provide less than best efforts to the sale, marketing, advertising,
retail placement, or promotion of any Third-Party Brewer’s Beer or to discontinue the
distribution of a Third-Party Brewer’s Beer. Defendant ABI may require an lndependent
Distributor to allocate to Defendant ABI’s Beer a proportion of the lndependent Distributor’s
annual spending on Beer promotions and incentives not to exceed the proportion of revenues that
Defendant ABl’s Beer constitutes in the lndependent Distributor’s overall revenue for Beer sales
in the preceding year.

E. Defendant ABI shall not disapprove an lndependent Distributor’s selection of a
general manager or successor general manager based on the lndependent Distributor’s sales,
marketing, advertising, promotion, or retail placement of a Third-Party Brewer’s Beer.

F. When exercising any right related to the transfer of control, ownership, or equity
in any Distributor to any other Distributor, Defenth ABI shall not give weight to or base any
decision to exercise such right upon either Distributor’s business relationship with a Third-Party
Brewer - including, but not limited to, such Distributor’s sales, marketing, advertising,
promotion, or retail placement of a Third-Party Brewer’s Beer.

G. Defendant ABI shall not request or require an lndependent Distributor to report to

Defendant ABI, whether in aggregated or disaggregated form, the lndependent Distributor’s

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revenues, profits, margins, costs, sales volumes, or other financial information associated with
the purchase, sale, or distribution of a Third-Party Brewer’s Beer. Nothing in the foregoing
sentence shall prohibit Defendant ABI from requesting the reporting of general financial
information by an lndependent Distributor to assess the overall financial condition and financial
viability of such lndependent Distributor, or the percentage of total Beer revenues received by
the lndependent Distributor in the prior year associated with the purchase, sale, or distribution of
Defendant ABl’s Beer distributed by the lndependent Distributor, provided that the requested
information does not disclose or enable Defendant ABI to infer the disaggregated revenues,
profits, margins, costs, or sales volumes associated with the lndependent Distributor’s purchase,
sale, or distribution of Third-Party Brewers’ Beer. Nothing herein shall prevent Defendant ABI
from conducting ordinary course due diligence in connection with any potential acquisition of an
lndependent Distributor.

H. Defendant ABI shall not discriminate against, penalize, or otherwise retaliate
against any Distributor because such Distributor raises, alleges, or otherwise brings to the
attention of the United States or the Monitoring Trustee an actual, potential, or perceived
violation of Section V of this Final Judgment.

l. Within ten (10) business days after entry of this Final Judgment, Defendant ABI
shall provide the United States, for the United States to approve in its sole discretion, with a
proposed form of written notification to be provided to any lndependent Distributor that
distributes Defendant ABI’s Beer in the Territory. Such notification shall (1) explain the
practices prohibited by Section V of this Final Judgment, (2) describe the changes Defendant
ABI is making to any programs, agreements, or any interpretations of agreements required to

comply with Section V of this Final Judgment, and (3) inform the lndependent Distributor of its

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right, without fear of retaliation, to bring to the attention of any Monitoring Trustee appointed
pursuant to Section VIII of this Final Judgment or the United States any actions by Defendant
ABI which the lndependent Distributor believes may violate Section V of this Final Judgment.
Within ten (10) business days after receiving the approval of the United States, Defendant ABI
shall make reasonable efforts to fumish the approved notification described above, together with
a paper or electronic copy of this Final Judgment, to any lndependent Distributor that distributes
Defendant ABI’s Beer in the Territory.

Vl. APPOINTMENT OF TRUSTEE TO EFFECT DIVESTITURE

A. If following Completion of the Transaction Defendant ABI has not divested the
Divestiture Assets within the time period specified in Section IV.A, Defendant ABI shall notify
the United States of that fact in writing. Upon application of the United States, the Court shall
appoint a Divestiture Trustee selected by the United States and approved by the Court to divest
the Divestiture Assets in a manner consistent with this Final Judgment.

B. After the appointment of a Divestiture Trustee becomes effective, only the
Divestiture Trustee shall have the right to sell the Divestiture Assets. The Divestiture Trustee
shall have the power and authority to accomplish the divestiture to an Acquirer acceptable to the
United States at such price and on such terms as are then obtainable upon reasonable effort by
the Divestiture Trustee, subject to the provisions of Sections IV, VI, and VII of this Final
Judgment, and shall have such other powers as this Court deems appropriate

C. Subject to Section VI.E of this Final Judgment, the Divestiture Trustee may hire
at the cost and expense of Defendant ABI any investment bankers, attomeys, or other agents,
who shall be solely accountable to the Divestiture Trustee, reasonably necessary in the

Divestiture Trustee’s judgment to assist in the divestiture Any such investment bankers,

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attomeys, or other agents shall serve on such terms and conditions as the United States approves
including confidentiality requirements and conflict of interest certifications.

D. Defendant ABI shall not object to a sale by the Divestiture Trustee on any ground
other than the Divestiture Trustee’s malfeasance Any such objection by Defendant ABI must be
conveyed in writing to the United States and the Divestiture Trustee within ten (10) calendar
days after the Divestiture Trustee has provided the notice required under Section VlI.A.

E. The Divestiture Tnistee shall serve at the cost and expense of Defendant ABI
pursuant to a written agreement, on such terms and conditions as the United States approves
including confidentiality requirements and conflict of interest certifications. The Divestiture
Trustee shall account for all monies derived from the sale of the assets sold by the Divestiture
Trustee and all costs and expenses so incurred. Afier approval by the Court of the Divestiture
Trustee’s accounting, including fees for its services yet unpaid and those of any professionals
and agents retained by the Divestiture Trustee, all remaining money shall be paid to Defendant
ABI and the trust shall then be terminated The compensation of the Divestiture Trustee and any
professionals and agents retained by the Divestiture Trustee shall be reasonable in light of the
value of the Divestiture Assets and based on a fee arrangement providing the Divestiture Trustee
with an incentive based on the price and terms of the divestiture and the speed with which it is
accomplished, but timeliness is paramount lf the Divestiture Trustee and Defendant ABI are
unable to reach agreement on the Divestiture Trustee’s or any agents’ or consultants’
compensation or other terms and conditions of engagement within fourteen (14) calendar days of
appointment of the Divestiture Trustee, the United States may, in its sole discretion, take
appropriate action, including making a recommendation to the Court. The Divestiture Trustee

shall, within three (3) business days of hiring any other professionals or agents, provide written

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notice of such hiring and the rate of compensation to Defendant ABI and the United States,
Defendant ABI shall use its best efforts to assist the Divestiture Trustee in accomplishing the
required divestiture The Divestiture Trustee and any consultants, accountants, attomeys, and
other persons retained by the Divestiture Trustee shall have full and complete access to the
personnel, books, records, and facilities of the business to be divested, and Defendant ABl shall
develop financial and other information relevant to such business as the Divestiture Trustee may
reasonably request, subject to reasonable protection for trade secret or other confidential
research, development, or commercial information. Defendant ABI shall take no action to
interfere with or to impede the Divestiture Trustee’s accomplishment of the divestiture

F. After its appointment, the Divestiture Tnistee shall file monthly reports with the
United States and the Court setting forth the Divestiture Trustee’s efforts to accomplish the
divestiture ordered under this Final Judgment. To the extent such reports contain information
that the Divestiture Trustee deems confidential, such reports shall not be filed in the public
docket of the Court. Such reports shall include the name, address, and telephone number of each
person who, during the preceding month, made an offer to acquire, expressed an interest in
acquiring, entered into negotiations to acquire, or was contacted or made an inquiry about
acquiring the Divestiture Assets, and shall describe in detail each contact with any such person.
The Divestiture Trustee shall maintain full records of all efforts made to divest the Divestiture
Assets.

G. If the Divestiture Trustee has not accomplished the divestiture ordered under this
Final Judgment within six (6) months after its appointrnent, the Divestiture Trustee shall
promptly file with the Court a report setting forth (l) the Divestiture Trustee’s efforts to

accomplish the required divestiture, (2) the reasons, in the Divestiture Trustee’s judgment, why

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the required divestiture has not been accomplished, and (3) the Divestiture Trustee’s
recommendations To the extent such reports contain information that the Divestiture Trustee
deems confidential, such reports shall not be filed in the public docket of the Court. The
Divestiture Trustee shall at the same time furnish such report to Defendant ABI and to the United
States, which shall have the right to make additional recommendations consistent with the
purpose of the trust. The Court thereafter shall enter such orders as it shall deem appropriate to
carry out the purpose of the Final Judgment, which may, if necessary, include extending the trust
and the term of the Divestiture Trustee’s appointment by a period requested by the United States,

H. If the United States determines that the Divestiture Trustee has ceased to actor
failed to act diligently or in a reasonably cost-effective manner, it may recommend the Court
appoint a substitute Divestiture Trustee;

VII. NOTICE OF PROPOSED DIVESTITURE

A. Within two (2) business days following execution of a definitive divestiture
agreement with an Acquirer other than Molson Coors, Defendant ABI or the Divestiture Trustee,
whichever is then responsible for effecting the divestiture required herein, shall notify the United
States of any proposed divestiture required by Section lV of this Final Judgment. If the
Divestiture Trustee is responsible, it shall similarly notify Defendant ABI. The notice shall set
forth the details of the proposed divestiture and list the name, address, and telephone number of
each person who offered or expressed an interest in or desire to acquire any ownership interest in
the Divestiture Assets or, in the case of the Divestiture Trustee, any update of the information
required to be provided under Section VI.G above.

B. Within fifteen (15) calendar days of receipt by the United States of such notice,
the United States may request from Defendant ABI, the proposed Acquirer, any other third party,

or the Divestiture Trustee if applicable, additional information concerning the proposed

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divestiture, the proposed Acquirer, and any other potential Acquirer. Defendant ABI and the
Divestiture Trustee shall furnish any additional information requested within fifteen (15)
calendar days of the receipt of the request, unless the parties shall otherwise agree.

C. Within thirty (30) calendar days after receipt of the notice or within twenty (20)
calendar days after the United States has been provided the additional information requested
from Defendant ABI, the proposed Acquirer, any third party, and the Divestiture Trustee,
whichever is later, the United States shall provide written notice to Defendant ABI and the
Divestiture Trustee, stating whether or not it objects to the proposed divestiture If the United
States provides written notice that it does not object, the divestiture may be consummated,
subject only to Defendant ABI’s limited right to object to the sale under Section VI.D of this
Final Judgment. Absent written notice that the United States does not object to the proposed
Acquirer or upon objection by the United States, a divestiture proposed under Section VI shall
not be consummated Upon objection by Defendant ABI under Section VI.D, a divestiture
proposed under Section VI shall not be consummated unless approved by the Court.

VIII. MONITORING TRUSTEE

A. Upon the filing of this Final Judgment, the United States may, in its sole
discretion, appoint a Monitoring Trustee, subject to approval by the Court.

B. The Monitoring Trustee shall have the power and authority to monitor
Defendants’ compliance with the terms of this Final Judgment and the Hold Separate Stipulation
and Order entered by this Court, and shall have such other powers as this Court deems
appropriate. The Monitoring Trustee shall investigate and report on the Defendants’ compliance
with their respective obligations under this Final Judgment and Defendants’ efforts to effectuate
the purposes of this Final Judgment, including but not limited to, reviewing (a) complaints that

Defendant ABI has violated Section V of this Final Judgment; (b) the implementation of the

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compliance plan required by Section XIII.B of this Final Judgment; and (c) any claimed breach
of the Transition Services Agreements, License Agreements, Interim Supply Agreements, or
other agreement between Defendant ABI and the Acquirer that may affect the accomplishment
of the purposes of this Final Judgment. If the Monitoring Trustee determines that any violation
of the Final Judgment or breach of any related agreement has occurred, the Monitoring Trustee
shall recommend an appropriate remedy to the Antitrust Division of the United States
Department of Justice (the “Antitrust Division”), which, in its sole discretion, can accept,
modify, or reject a recommendation to pursue a remedy.

C. Subject to Section VlIl.E of this Final Judgment, the Monitoring Trustee may hire
at the cost and expense of Defeth ABl, any consultants, accountants, attomeys, or other
persons, who shall be solely accountable to the Monitoring Trustee, reasonably necessary in the
Monitoring Trustee’s judgment

D. l)efendants shall not object to actions taken by the Monitoring Trustee in
fulfillment of the Monitoring Trustee’s responsibilities on any ground other than the Monitoring
Trustee’s malfeasance. Any such objection by Defendants must be conveyed in writing to the
United States and the Monitoring Trustee within ten (lO) calendar days after the action taken by
the Monitoring Trustee giving rise to Defendants’ objection.

E. The Monitoring Trustee shall serve at the cost and expense of Defendant ABI on
such terms and conditions as the United States approves The compensation of the Monitoring
Trustee and any consultants, accountants, attomeys, and other persons retained by the
Monitoring Trustee shall be on reasonable and customary terms commensurate with the

individuals’ experience and responsibilities The Monitoring Trustee shall, within three (3)

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business days of hiring any consultants, accountants, attomeys, or other persons, provide written
notice of such hiring and the rate of compensation to Defendant ABI.

F. The Monitoring Trustee shall have no responsibility or obligation for the
operation of Defendants’ businesses

G. Defendants shall use their best efforts to assist the Monitoring Trustee in
monitoring Defendants’ compliance with their respective obligations under this Final Judgment
and under the Hold Separate Stipulation and Order. The Monitoring Trustee and any
consultants, accountants, attomeys, and other persons retained by the Monitoring Trustee shall
have full and complete access to the personnel, books, records, and facilities relating to
compliance with this Final Judgment, subject to reasonable protection for trade secret or other
confidential research, development, or commercial information or any applicable privileges, to
the extent Defendants have the right to provide such access Defendants shall take no action to
interfere with or to impede the Monitoring Trustee’s accomplishment of its responsibilities

H. After its appointrncnt, the Monitoring Trustee shall file reports every ninety (90)
days,` or more frequently as needed, with the United States and, as appropriate, the Court setting
forth the Defendants’ efforts to comply with their individual obligations under this Final
Judgment and under the Hold Separate Stipulation and Order. To the extent such reports contain
information that the Monitoring Trustee deems confidential, such reports shall not be filed in the
public docket of the Court.

I. The Monitoring Trustee shall serve until the sale of all the Divestiture Assets is
finalized pursuant to either Section IV or Section Vl of this Final Judgment and the Transition

Services Agreements and the Interim Supply Agreements have expired and all other relief has

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been completed as defined in Section V unless the United States, in its sole discretion, authorizes
the early termination of the Monitoring Trustee’s service.

IX. FINANCING

Defendants shall not finance all or any part of any purchase made pursuant to Section IV
or Section VI of this Final Judgment.

X. HOLD SEPARATE

Until the divestiture required by this Final Judgment has been accomplished, or the
Transaction is abandoned by the Defendants in accordance with the terms of the Co-Operation
Agreement between the Defendants dated November ll, 2015 and the United States has notified
the Court, Defendants shall take all steps necessary to comply with the Hold Separate Stipulation
and Order entered by this Court. Defendants shall take no action that would jeopardize the
divestiture ordered by this Court.

Xl. AFFIDAVITS

A. Within twenty (20) calendar days of the filing of this proposed Final Judgment,
and every thirty (30) calendar days thereafter until the divestiture has been completed under
Section IV or Section VI, each Defendant shall deliver to the United States an affidavit as to the
fact and manner of its compliance with Section IV or Section VI of this Final Judgment. Each
such affidavit on behalf of Defendant ABI shall also include the name, address, and telephone
number of each person who, during the preceding thirty (30) calendar days, made an offer to
acquire, expressed an interest in acquiiing, entered into negotiations to acquire, or was contacted
or made an inquiry about acquiring, any interest in the Divestiture Assets, and shall describe in
detail each contact with any such person during that period. Defendant ABI’s affidavit shall also
include a description of the efforts Defendant ABI has taken to solicit buyers for the Divestiture

Assets, and to provide required information to prospective Acquirers, including the limitations, if

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any, on such information. Assuming the information set forth in the affidavit is true and
complete, any objection by the United States to information provided by Defendants, including
limitation on inforrnation, shall be made within fourteen (14) calendar days of receipt of such
affidavit

B. Within twenty (20) calendar days of the filing of this proposed Final Judgment,
each Defendant shall deliver to the United States an affidavit that describes in reasonable detail
all actions it has taken and all steps it has implemented on an ongoing basis to comply with
Section X of this Final Judgment. Each Defendant shall deliver to the United States an affidavit
describing any changes to the efforts and actions outlined in its earlier affidavits filed pursuant to
this section within fifteen (15) calendar days after the change is implemented

C. Defendants shall keep all records of all efforts made to preserve and divest the
Divestiture Assets until one year after the date of the divestiture

XII. NOT[FICATION OF FUTURE TRANSACTIONS

A. Unless such transaction is otherwise subject to the reporting and waiting period
requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15
U.S.C. § 18a (the “HSR Act”), Defendant ABI, without providing at least thirty (30) calendar
days advance notification to the United States, shall not directly or indirectly acquire or license a
Covered Interest in or from a Covered Entity.

B. Any such notification shall be provided to the Antitrust Division in the same format
as, and per the instructions relating to the Notification and Report Form set forth in the Appendix to
Part 803 of Title 16 of the Code of Federal Regulations as amended. Notification shall be provided
at least thirty (30) calendar days prior to acquiring any such interest If within the 30~day period after
notification, representatives of the Antitrust Division make a written request for additional

inforrnation, Defendant ABI shall not consummate the proposed transaction or agreement until thirty

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(30) calendar days after submitting all such additional information Early termination of the waiting
periods in this paragraph may be requested and, where appropriate, granted in the same manner as is
applicable under the requirements and provisions of the HSR Act and rules promulgated thereunder.
C. All references to the HSR Act in this Final Judgment refer to the HSR Act as it
exists at the time of the transaction or agreement and incorporate any subsequent amendments to
the HSR Act. This Section XII shall be broadly construed and any ambiguity or uncertainty
regarding the filing of notice under this Section XII shall be resolved in favor of filing notice

XIlI. NONDISCLOSURE OF INFORMATION

A. Each Defendant shall implement and maintain procedures to prevent the
disclosure of Confidential lnforrnation by or through Defendants to Defendants’ respective
affiliates who are involved in the marketing, distribution, or sale of Beer or other beverages in
the Tenitory, or to any other person who does not have a need to know the information.

B. Each Defendant shall, within ten (10) business days of the entry of the Hold
Separate Stipulation and Order, submit to the United States a compliance plan setting forth in
detail the procedures implemented to effect compliance with Section XIII.A of this Final
Judgment. In the event that the United States rejects a Defendant’s compliance plan, that
Defendant shall be given the opportunity to submit, within ten (10) business days of receiving
the notice of rejection, a revised compliance plan. If the United States and a Defendant cannot
agree on a compliance plan, the United States shall have the right to request that the Court rule
on whether the Defendant’s proposed compliance plan is reasonable

C. Each Defendant may submit to the United States evidence relating to the actual
operation of its respective compliance plan in support of a request to modify such compliance
plan set forth in this Section XIII. In determining whether it would be appropriate to consent to

modify the compliance plan, the United States, in its sole discretion, shall consider the need to

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protect Confidential lnformation and the impact the compliance plan has had on Defendant

ABI’s ability to efficiently provide services, supplies, and products under the Transition Services

Agreements, the License Agreements, the Interim Supply Agreements, and any agreements

entered into between Defendant ABI and the Acquirer subject to Section V.C.

D. Defendants shall prior to the Completion of the Transaction, and Defendant ABI

shall following Closing:

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furnish a copy of this Final Judgment and related Competitive Irnpact
Statement within sixty (60) days of entry of the Final Judgment to (a) each
officer, director, and any other employee that will receive Confidential
Inforrnation; (b) each ofticer, director, and any other employee that is
involved in (i) any contact with the Acquirer or MillerCoors, (ii) making
decisions under the Transition Services Agreements, the License
Agreements, the Interim Supply Agreements, and any agreements entered
into between Defendants and the Acquirer subject to Section V.C, or (iii)
making decisions regarding Defendant ABI’s relationships with,
agreements with, or policies regarding Distributors; and (c) any successor
to a person designated in Section XIII.D.l(a) or (b);

annually brief each person designated in Section XlII.D.l on the meaning
and requirements of this Final Judgment and the antitrust laws; and
obtain from each person designated in Section XIII.D. l , within sixty (60)
days of that person’s receipt of the Final Judgment, a certification that he
or she (i) has read and, to the best of his or her ability, understands and

agrees to abide by the terms of this Final Judgment; (ii) is not aware of

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any violation of the Final Judgment that has not been reported to the
company; and (iii) understands that any person’s failure to comply with
this Final Judgment may result in an enforcement action for civil or
criminal contempt of court against that Defendant and/or any person who
violates this Final Judgment.

XIV. COMPLIANCE lNSPECTION

A. For the purposes of determining or securing compliance with this Final Judgment,
or of determining whether the Final Judgment should be modified or vacated, and subject to any
legally recognized privilege, fro_m time to time authorized representatives of the Antitrust
Division, including consultants and other persons retained by the United States, shall, upon
written request of an authorized representative of the Assistant Attomey General in charge of the
Antitrust Division, and on reasonable notice to Defendants, be permitted:

1. access during Defendants’ office hours to inspect and copy, or at the
option of the United States, to require Defendants to provide hard copy or
electronic copies of, all books, ledgers, accounts, records, data, and
documents in the possession, custody, or control of Defendants, relating to
any matters contained in this Final Judgment; and

2. to interview, either informally or on the record, Defendants’ officers,
employees, or agents, who may have their individual counsel present,
regarding such matters. The interviews shall be subject to the reasonable
convenience of the interviewee and without restraint or interference by
Defendants.

B. Upon the written request of an authorized representative of the Assistant Attomey

General in charge of the Antitrust Division, Defendants shall submit written reports or respond to

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Written interrogatories, under oath if requested, relating to any of the matters contained in this
Final Judgment as may be requested. Written reports authorized under this paragraph may, at the
sole discretion of the United States, require Defendants to conduct, at Defendants’ cost, an
independent audit or analysis relating to any of the matters contained in this Final Judgment.

C. No information or documents obtained by the means provided in this section shall
be divulged by the United States to any person other than an authorized representative of the
executive branch of the United States, except in the course of legal proceedings to which the
United States is a party (including grand jury proceedings), or for the purpose of securing
compliance with this Final Judgment, or as otherwise required by law.

D. If at the time information or documents are furnished by Defendants to the United
States, Defendants represent and identify in writing the material in any such information or
documents to which a claim of protection may be asserted under the Protective Order, then the
United States shall give Defendants ten (10) calendar days notice prior to divulging such material
in any legal proceeding (other than a grand jury proceeding).

xv. No REACQUlsrTroN

Defendant ABI may not reacquire any part of the Divestiture Assets during the term of
this Final Judgment.

XVI. BANKRUPTCY

The failure of any party to any agreement entered into to comply with this Final
Judgment to perform any remaining obligations of such party under the agreement shall not
excuse performance by the other party of its obligations thereunder. Accordingly, for purposes
of Section 365(n) of the Bankruptcy Reform Act of 1978, as amended, and codified as ll U.S.C.
§§ 101 et. seq. (the “Bankruptcy Code”) or any analogous provision under any law of any

foreign or domestic, federal, state, provincial, local, municipal or other govemmental jurisdiction

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relating to bankruptcy, insolvency or reorganization (“Foreign Bankruptcy Law”), (a) the
agreement will not be deemed to be an executory contract, and (b) if for any reason a License
Agreement is deemed to be an executory contract, the licenses granted under the License
Agreement shall be deemed to be licenses to rights in “intellectual property” as defined in
Section 101 of the Bankruptcy Code or any analogous provision of Foreign Bankruptcy law and
the Acquirer shall be protected in the continued enjoyment of its right under the License
Agreement including, without limitation, the Acquirer so elects, the protection conferred upon
licensees under ll U.S.C. Section 365(n) of the Bankruptcy Code or any analogous provision of
Foreign Bankruptcy Law.
XVIl. RETENTION OF JURISDICTION
This Court retains jurisdiction to enable any party to this Final Judgment to apply to this
Court at any time for further orders and directions as may be necessary or appropriate to carry
out or construe this Final Judgment, to modify any of its provisions, to ensure and enforce
compliance, and to punish violations of its provisions.
XVIII. ENFORCEMENT OF FINAL JUDGMENT
A. The United States retains and reserves all rights to enforce the provisions of this
Final Judgment, including its right to seek an order of contempt from this Court. Defendants
agree that in any civil contempt action, any motion to show cause, or any similar action brought
by the United States regarding an alleged violation of this Final Judgment, the United States may
establish a violation of the decree and the appropriateness of any remedy therefor by a
preponderance of the evidence, and they waive any argument that a different standard of proof

should apply.

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B. In any enforcement proceeding in which the Court finds that the Defendants have
violated this Final Judgment, the United States may apply to the Court for a one-time extension
of this Final Judgment, together With such other relief as may be appropriate, Defendants agree
to reimburse the United States for any attomeys’ fees, experts’ fees, and costs incurred in
connection with any effort to enforce this Final Judgment.

XIX. EXPIRATION OF FINAL JUDGMENT

Unless this Court grants an extension, this Final Judgment shall expire ten (10) years
from the date the United States filed its Complaint, except that after five (5) years from the date
of its entry, this Final Judgment may be terminated upon notice by the United States to the Court
and Defendants that the divestitures have been completed and that the continuation of the Final
Judgment no longer is necessary or in the public interest.

XX. PUBLIC INTEREST DETERMINATION

Entry of this Final Judgment is in the public interest. The parties have complied with the
requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making
copies available to the public of this Final Judgment, the Competitive Irnpact Statement, and any
comments thereon and the United States’ responses to comments. Based upon the record before
the Court, which includes the Competitive lrnpact Statement and any comments and response to

comments filed with the Court, entry of this Final Judgment is in the public interest.

 

 

Hon. Emmet G. Sullivan /
U.S. District Judge

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Attachment A
Miller Brands

l. Hamm’s
A. Hamm’s
B. Hamm’s Golden Draft
C. Hamm’s Special Light

2. lcehouse

A. lcehouse 5.0
B. lcehouse 5.5
C. lcehouse Light

3. Magnum Malt Liquor

4. Mickey’s
A. Mickey’s
B. Mickey’s Ice

5. Miller

A. Miller Chill

B. Miller Dark

C. Miller Genuine Draft
D. Miller Genuine Draft Light
E. Miller Genuine Draft 64
F. Miller High Life

G. Miller High Life Light
H. Miller Lite

I. Miller Mac’s Light

J. Miller Pilsner

K. Miller Special

6. Milwaukee’s

A. Milwaukee’s Best

B. Milwaukee’s Best Dry
C. Milwaukee’s Best lce
D. Milwaukee’s Best Light

7. Olde English

A. Olde English 800

B. Olde English 800 7.5

C. Olde English High Gravity 800
8. Red Dog

9. Sharp’s (Non-Alcohol)

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10. Southpaw Light

ll. Steel

A. Steel Reserve Triple Export 8.1%
B. Steel Reserve High Gravity

C. Steel Reserve High Gravity 6.0
D. Steel Six

12. Frederick Miller Classic Chocolate Lager

13. Henry Weinhard’s

A. Henry Weinhard’s Blonde Lager

B. Henry Weinhard’s Blue Boar

C. Henry Weinhard’s Classic Dark Lager
D. Henry Weinhard’s Hefeweizen

E. Henry Weinhard’s Private Reserve

F. Henry Weinhard’s Belgian Ster Wheat
G. Henry Weinhard’s Root Beer

H. Henry Weinhard’s Black Cherry

I. Henry Weinhard’s Vanilla Cream

J . Henry Weinhard’s Orange Cream

14. Leinenkugel’s

A. Leinenkugel’s Apple Spice
B. Leinenkugel’s Berry Weiss
C. Leinenkugel’s BIG BU'l."l`
D. Leinenkugel’s Creamy Dark
E. Leinenkugel’s Honey Weiss
F. Leinenkugel’s Light

G. Leinenkugel’s Oktoberfest
H. Leinenkugel’s Original Lager
I. Leinenkugel’s Red Lager

J. Leinenkugel’s Sunset Wheat

15. Sparks

A. Sparks

B. Sparks Light

C. Sparks Plus 6%
D. Sparks Plus 7%

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Attachment B
Import Brands

Pilsner Urquell
Peroni
Grolsch
Tyskie
Lech
Cerveza Aguila
Cristal
Cusquena
Sheaf Stout
. Castle Lager
. Victoria Bitter
. Crown Lager
. Pure Blonde
14. Carlton Draught and Carlton Dry
15. ,Matilda Bay Brewing Company products described in the Exploitation of Rights
Agreement between MBBC Pty Ltd (ACN 009 077 703) and MillerCoors LLC dated as
ofMarch 31, 2013
16. Cascade Brewery Company products described in the Exploitation of Rights Agreement
between Cascade Brewery Company Pty Ltd (ACN 058 152 195) and MillerCoors LLC
dated as ofMarch 3l, 2013
17. Caguama
1 8. Cantina
19. Pilsener
20. Regia
21. Suprema
22. Taurino
23. Barena
24. Port Royal
25. Salva Vida
26. Santiago
27. Haywards 5000
28. Arriba
29. Caballo
30. Cabana
3 l. Del Mar
32. San Lucas
33. Tocayo
34. Rialto
35. to the extent not otherwise listed herein, La Constancia S.A. de C.V. products described
in the Supplier-lrnporter Agreement, dated as of July ll, 2005 between La Constancia S.
S.A. de C.V. and Winery Exchange, Inc.

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Mi_€
Defendant ABl’s Calculation Beer Volume Sold Through ABl-Owned Distributors

For purposes of Section V.B., the percentage of Defendant ABl’s Beer sold by ABI-Owned
Distributors in the Territory will be calculated according to the following formula:

X
Percentage = § )< 100

thre X and Y are defined as:

X= volume of Defendant ABI’s Beer that was sold by ABI-Owned Distributors to retailers in the
Territory, as indicated by the most comprehensive data then used by ABI (currently, ABI’s
BudNet system), during the Relevant Per'iod. The Relevant Period, for purposes of this
Attachment C, shall be the 12 month period ending at the month-end immediately prior to the
execution of the acquisition agreement governing the acquisition by ABI of the assets or equity
interest, as applicable, of a Distributor. For the avoidance of doubt, X will include the volume of
Defendants’ Beer that was sold during the Relevant Period to retailers in the territory by the
Distributor whose assets or equity interests are the subject of the acquisition agreement.

Y= volume of Defendant ABI’s Beer that was sold to retailers in the Territory during the

Relevant Period, as indicated by the most comprehensive data then used by ABI (currently,
ABI’s BudNet system).

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